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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                         )
                                               )
       Plaintiffs,                             )
                                               ) Case No. 4:17-CV-2455-RLW
v.                                             )
                                               )
CITY OF ST. LOUIS,                             )
                                               )
       Defendant.                              )

                                    Motion to Withdraw

       COMES NOW Assistant City Counselor Megan Bruyns and hereby requests leave to

withdraw as co-counsel for Defendant City of St. Louis. Withdrawal is necessary because Ms.

Bruyns is leaving the employ of the City of St. Louis on May 26, 2020. All other attorneys of

record for Defendant will remain.

                                          Respectfully submitted,

                                          JULIAN BUSH
                                          CITY COUNSELOR

                                          /s/ Megan Bruyns
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